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                       THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 In re:                                      §
                                             §              Case No. 22-33553
 ALEXANDER E. JONES                          §              (Chapter 7)
                                             §
          Debtor.                            §

STIPULATION AND AGREED ORDER EXTENDING THE DEADLINE FOR PARTIES
           TO OBJECT TO DEBTOR’S CLAIMED EXEMPTIONS

          WHEREAS, on December 2, 2022 (“Petition Date”), Alexander E. Jones (“Debtor”)

filed his voluntary petition for relief under chapter 11 of the Bankruptcy Code.

          WHEREAS, on June 14, 2024 (“Conversion Date”), the Court entered an Order [DE 708]

converting the bankruptcy from a chapter 11 proceeding to a chapter 7 proceeding and Christopher

R. Murray was duly appointed as the chapter 7 trustee (“Trustee”) over the Debtor’s bankruptcy

estate (“Estate”).

          WHEREAS, on June 28, 2024, the Debtor filed his Schedules A/B, C, D, E/F, G, H, I, J,

and Summary of Assets and Liabilities [DE 749] (“Conversion Schedules”) along with his

Statement of Financial Affairs [DE 750].

          WHEREAS, on July 2, 2024, the 341 meeting of creditors was held and concluded.

          WHEREAS, the deadline for parties to object to the exemptions claimed by the Debtor in

the Conversion Schedules is August 1, 2024 (“Original Objection Deadline”).

          WHEREAS, by Stipulation and Agreed Order [DE 791], the Original Objection Deadline

was extended to September 2, 2024.

          WHEREAS, the Trustee requested and the Debtor agreed to a second extension of the

Original Objection Deadline.




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     NOW, THEREFORE, IT IS STIPULATED AND AGREED TO BY THE PARTIES
AND UPON APPROVAL BY THE COURT OF THIS STIPULATION, IT IS SO ORDERED
AS FOLLOWS:

        1.      The above recitals are incorporated by reference herein with the same force and

effect as if fully set forth hereafter.

        2.      The deadline for any and all creditors and/or parties-in-interest in this bankruptcy

case, including but not limited to the Trustee (“Parties”), to object to the exemptions claimed by

the Debtor in his Conversion Schedules is extended to September 30, 2024.

        3.      Nothing herein shall be construed to prohibit Parties from seeking further

extensions by agreement and/or by further order of the Court.

        4.      Notwithstanding anything in the Bankruptcy Code or the Bankruptcy Rules to the

contrary, this Stipulation and Agreed Order shall be effective immediately upon the Court’s

approval.

        5.      The Court has exclusive jurisdiction and power regarding the implementation,

interpretation, and enforcement of this Stipulation and Agreed Order.

Dated: August 30, 2024


IT IS SO ORDERED.


                                                               Christopher M. Lopez
                                                           United States Bankruptcy Judge




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AGREED AS TO FORM AND SUBSTANCE
ON AUGUST 30, 2024:

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